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                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

NUCLEAR DEVELOPMENT LLC,           )
                                   )
     Plaintiff,                    )
                                   )
v.                                 )       Case No.: 5:18-CV-01983-LCB
                                   )
TENNESSEE VALLEY                   )           ORAL ARGUMENT
AUTHORITY,                         )             REQUESTED
                                   )
     Defendant.                    )
                                   )


     DEFENDANT'S BRIEF IN SUPPORT OF MOTION TO DISMISS
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      Defendant Tennessee Valley Authority (“TVA”) submits this brief in

support of its motion to dismiss this action pursuant to Fed. R. Civ. P. 12(b)(6).

                                INTRODUCTION

      TVA could not close on the sale of the Bellefonte Nuclear Plant Site

(“Bellefonte Site”) to Nuclear Development LLC (“ND”) because the sale would

have been illegal under the Atomic Energy Act of 1954 (the “Act”) and associated

regulations. As a direct result of that insurmountable legal hurdle, each of the

three counts in ND’s complaint must be dismissed.

                           FACTUAL BACKGROUND

      1.     TVA is a corporate agency and instrumentality of the United States

created by and existing pursuant to the Tennessee Valley Authority Act of 1933,

16 U.S.C. § 831 et. seq. See Doc. 1, ¶¶ 2-3; TVA v. Hill, 437 U.S. 153, 157 (1978)

(TVA is a “wholly owned public corporation of the United States”); Ashwander v.

TVA, 297 U.S. 288 (1936) (TVA is “an agency of the federal government”);

16 U.S.C. § 831r (2006) (denoting TVA to be “an instrumentality and agency of

the Government of the United States”).

      2.     TVA owns the Bellefonte Site in Jackson County, Alabama. (Doc. 1,

¶ 5). The Bellefonte Site contains a partially finished nuclear plant. (Doc. 1, ¶ 5).

      3.     The Atomic Energy Commission (“AEC”) issued to TVA two

construction permits to construct the nuclear plant (the “Construction Permits”) at

                                          1
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the Bellefonte Site.1 (Doc. 1, ¶ 14). The Construction Permits are currently in

deferred status. (Doc. 1, ¶ 14).

         4.     In November 2016, TVA and ND entered into a Purchase and Sale

Agreement (the “Agreement”) for the Bellefonte Site. (Doc. 1, ¶ 6; Doc. 1-1).2

Under the Agreement, TVA was obligated to transfer to ND not only the real

property, buildings, and equipment on the site, but also, to the extent feasible and

permitted by applicable law, the Construction Permits. (Doc. 1-1, §§ 1(a), 1(b),

1(e)).

         5.    Under the Agreement, the parties were given two years to satisfy

various closing conditions, so that the closing would “occur on November 14,

2018.” (Doc. 1-1, §§ 5-6). The parties later agreed to extend that deadline to

November 30, 2018. (Doc. 1, ¶ 7).

         6.    Among other conditions, the sale of the Bellefonte Site could not

close unless the following condition was fulfilled:

         There shall not be in effect at the Closing any law, statute, rule,
         regulation, permit, certificate or binding order, decree or decision of
         any Governmental Authority (as defined [in the PSA]) restraining,
         enjoining or otherwise prohibiting or making illegal the
1
  Pursuant to the Energy Reorganization Act of 1974, Congress abolished the Atomic Energy
Commission and transferred its licensing and regulatory functions to the Nuclear Regulatory
Commission (“NRC”). 42 U.S.C. §§ 5814(a)–(f), 5841(f).
2
  Under Fed. R. Civ. P. 10(c), exhibits attached to the complaint "are part of the pleading 'for all
purposes.'" Griffin Indus., Inc. v. Irvin, 496 F.3d 1189, 1205 (11th Cir. 2007). And when
reviewing a motion to dismiss, the court may consider documents attached to the complaint
where the plaintiff relies upon the document to form the basis for a claim or part of a claim.
Crenshaw v. Lister, 556 F.3d 1283, 1292 (11th Cir. 2009).
                                                 2
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      consummation       of   the    transactions   contemplated    by   the
      Agreement[.]

(Doc. 1-1, § 6(a)(v) (emphasis added)).

      7.     On November 13, 2018, two years after entering into the Agreement

and just 17 days before the deadline for the closing, ND filed a license transfer

application (the “Application”) with the NRC seeking the NRC’s approval to

transfer the Construction Permits from TVA to ND. (Doc. 1, ¶ 14).

      8.      On November 29, 2018, TVA sent a letter to ND stating that, if the

NRC did not approve the transfer of the Construction Permits prior to the

Agreement’s extended closing date of November 30, 2018, then “Section 101 of

the Atomic Energy Act of 1954, 42 USC § 2131 . . . prohibits ND’s acquisition of

the [Bellefonte] Site.” (Doc. 1-5, p. 1).

      9.     The NRC did not approve transfer of the Construction Permits to ND

by the November 30, 2018 closing date (Doc. 1, ¶ 19), so TVA refused to close on

the sale of the Bellefonte Site to ND. (Doc. 1, ¶ 20).

      10.    Because the closing did not occur by the date required under the

Agreement, the Agreement expired by its own terms. (Doc. 1-1, §§ 6, 11(b)).

      11.    In the Agreement, the parties gave reciprocal warranties concerning

the need for any government approvals for the sale of the Property.            TVA

warranted:



                                            3
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        [N]o authorization, consent or approval or other order or action of or
        filing with any Governmental Authority is required for the execution
        and delivery by the TVA of this Agreement or the consummation by
        the TVA of the transactions contemplated hereby.

(Doc. 1-1, § 7(a)(vii)). Likewise, ND warranted:

        No authorization, consent or approval or other order or action of or
        filing with any Governmental Authority is required for the execution
        and delivery by the Buyer of this Agreement or the consummation by
        the Buyer of the transactions contemplated hereby.

(Doc. 1-1, § 8(a)(vi)).

        12.     The parties to the Agreement agreed that “federal law shall at all times

govern the validity, interpretation, and enforceability of th[e] Agreement,” with

Alabama law providing a backup in the event that there is no applicable body of

federal law on a particular legal or procedural point. (Doc. 1-1, § 31).

                                     ARGUMENT

   I.         Plaintiff’s claim for specific performance in Count One should be
              dismissed.

        ND’s claim for specific performance of the Agreement in Count One fails as

a matter of law. ND cannot obtain specific performance of the Agreement because

consummation of the closing under the Agreement would have violated the Atomic

Energy Act of 1954 (the “Act”). Due to that, one of the closing conditions was not

satisfied by the closing date. Thus, TVA was under no obligation to proceed with

the closing, and specific performance of the contract cannot be ordered.             In

addition, specific performance cannot be ordered because this Court lacks authority

                                            4
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to order TVA to undertake an illegal act. For both of those reasons, ND’s claim in

Count One for specific performance fails as a matter of law and must be dismissed.

      A.     Consummation of the Agreement would violate controlling
             federal law.

      The Act (42 U.S.C. § 2011 et seq.), along with the regulations issued in

connection with it, prohibits TVA from selling or transferring the Bellefonte site or

the Construction Permits to a third party, such as ND, without prior NRC approval.

      “When construing the language of a statute, [courts] begin . . . with the

language of the statute itself, and [courts] give effect to the plain terms of the

statute.” United States v. Noel, 893 F.3d 1294, 1297 (11th Cir. 2018) (internal

quotations omitted). The Act’s plain language establishes that the NRC must

approve the transfer of any nuclear facility such as the Bellefonte Site.

      Section 101 of the Act, 42 U.S.C. § 2131, provides:

             “[i]t shall be unlawful . . . for any person within the United
             States to transfer or receive in interstate commerce,
             manufacture, produce, transfer, acquire, possess, use, import,
             or export any utilization or production facility except under
             and in accordance with a license issued by the Commission
             pursuant to section 103 or section 104 [of the Act]”

(emphasis added); see also 10 C.F.R. § 50.10(c) (implementing regulation for

Section 101).

      Section 103 of the Act authorizes the NRC to issue licenses for utilization or

production facilities for commercial purposes.       See 42 U.S.C. § 2133.     NRC


                                          5
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regulations implementing these sections of the Act mandate that a person seeking

to build a commercial utilization or production facility obtain a construction permit

(or an equivalent license) from the NRC prior to beginning construction. 10 C.F.R.

§ 50.10(c).

       Each of the Construction Permits expressly states that it was issued pursuant

to Section 103 and that the license so issued was for the construction of “a

utilization facility.” AEC Letter to J.E. Watson enclosing Construction Permits

No. CPPR-122 and CPPR-123, 12/24/1974, at pp. 5, 10 of 15, https://adams

websearch2. nrc.gov/webSearch2/main.jsp? AccessionNumber=ML111110111,

(copy attached as Ex. A).3 Thus, the facilities subject to the Construction Permits

plainly fall within the meaning of “any utilization or production facility” under

Section 101. That necessarily means that the Act precludes TVA from transferring

ownership of the Bellefonte Site from TVA to ND if ND does not first acquire the

licenses (i.e., the Construction Permits) issued by the NRC.

       The NRC made crystal clear more than forty years ago that it must give its

approval prior to transfer of ownership of a nuclear plant subject to a construction

permit. In 1978, in a case involving transfer of ownership interests in a nuclear


3
  “At the motion to dismiss stage, a district court may take judicial notice of public records.”
Domond v. Peoplenetwork APS, 2018 WL 4520238, at *1 (11th Cir. Sept. 20, 2018). As relevant
to this case, the Court may take judicial notice of federal agency records available on
government websites. See, e.g., RSB Ventures, Inc. v. F.D.I.C., 514 Fed. App’x 853, 856 n. 2
(11th Cir. 2013); Said v. Nat’l R.R. Passenger Corp., 317 F. Supp. 3d 304, 335 n. 20 (D.D.C.
2018).
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plant that was subject to a construction permit, the NRC stated unequivocally,

“[a]ny transfer of ownership would require Commission approval.” In the Matter

of Pub. Serv. Co. of N.H. v. NRC, 7 N.R.C. 1, 15 (1978).4 Indeed, in instances

where a party proposes a change in partial ownership of a nuclear plant that is

subject to a construction permit, NRC approval must be obtained before the

ownership change occurs. See, e.g., NRC Letter to W.C. Tallman, 8/6/1980, at 1-2

& 6, https:// adamswebsearch2. nrc.gov/webSearch2/main.jsp?AccessionNumber

=ML011790530, (copy attached as Ex. B); NRC Letter to L.C. Dail, 10/19/1978, at

1 & 4-5, https:// adamswebsearch2. nrc.gov/webSearch2/main.jsp? Accession

Number=ML013100139, (copy attached as Ex. C).5

       In 1978, the NRC addressed a situation where an entity sought to sell a 20%

stake in an under-construction nuclear plant. The entity that sought to sell the

interest argued that the approval requirements of Section 101 are not triggered until

construction of a nuclear plant is complete. The NRC rejected that argument,



4
   The NRC has indicated that a transfer of a license or ownership may occur if NRC staff
approves it, but such a transfer would be have to be unwound if the NRC itself later disapproved
it. See In the Matter of Power Auth. of the State of N.Y., 52 N.R.C. 266, 286 n.1 (2000); In the
Matter of Vt. Yankee Nuclear Power Corp., 52 N.R.C. 79, 82-83 (2000). In this case, there is no
allegation that ND obtained any NRC staff approval prior to the closing date. TVA has not been
able to locate any precedent where the NRC has allowed a nuclear site subject to a construction
permit to be sold or acquired without prior approval by NRC or its staff of the transfer of the
construction permit to the acquiring party.
5
  These letters constitute legal authority and are thus properly considered by the Court on the
motion to dismiss. But, even if the Court were to deem the letter to be extrinsic evidence, they
can still be considered because these are public records available on the NRC’s website. See
supra at 6 n. 2.
                                               7
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noting that “it has been the long standing practice of the Commission to consider a

utilization facility under construction to be a utilization facility.” NRC Letter to

Dr. R.G. Asperger, 3/7/1978 at p. 4, n.*, https://www. nrc.gov/docs/ML1216/

ML12167A216.pdf, (copy attached as Ex. D). The NRC concluded that “[s]ection

101 of the Act . . . requires Commission approval before and not after an

ownership interest is acquired.” Id. at 3-4.6

       This conclusion comports not only with the plain language of the Act, but

also with common sense. In rejecting the argument that an entity can own a

nuclear plant without a license, the Atomic Safety and Licensing Appeal Board

stated that there is “no reason why Congress would want to exempt owners of

nuclear power plants from [NRC] regulation.” In the Matter of Pub. Serv. Co. of

Ind., Inc., 7 NRC 179, 200 (1978). In the post-9/11 world, that reasoning resonates

with great force due to the importance of the NRC maintaining oversight of public

health and safety issues related to the construction and operation of nuclear plants.

6
   The legal interpretations of the NRC reflected in this letter ruling, along with the legal
interpretations reflected in the other NRC letter rulings cited in this brief, are entitled to Chevron
deference due to the importance of the question to the administration of the statute, the
complexity of that administration, and the careful consideration that the NRC has given to the
question over a long period of time. See ViroPharma, Inc. v. Hamburg, 898 F. Supp. 2d 1, 17
(D.D.C. 2012) (citing Barnhart v. Walton, 535 U.S. 212, 221 (2002)); see also Chevron U.S.A.,
Inc. v. Natural Resources Defense Counsel, Inc., 468 U.S. 837 (1984). Under the Chevron
framework, the NRC’s interpretation must be given controlling weight because it is not
manifestly contrary to the statute. ViroPharma, 898 F. Supp. 2d at 17.
   Alternatively, even if the letter rulings were not entitled to Chevron deference (and they are),
they still would be entitled to Skidmore deference because of the thoroughness evident in the
NRC’s consideration, the validity of its reasoning, its consistency with earlier and later
pronouncements, and the inherent power in the letters to persuade. See Martin v. Social Security
Admin., Comm’r, 903 F.3d 1154, 1159 (11th Cir. 2018).
                                                  8
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      The fact that ND initiated an application for transfer of the Construction

Permits just before the Agreement’s closing date does not save ND from the

deficiency under the Act. The transfer of the Construction Permits cannot occur

without prior NRC approval. According to 10 C.F.R. § 50.80:

      No license for a production or utilization facility (including, but not
      limited to, permits under this part and part 52 of this chapter, and
      licenses under parts 50 and 52 of this chapter), or any right
      thereunder, shall be transferred, assigned, or in any manner
      disposed of, either voluntarily or involuntarily, directly or indirectly,
      through transfer of control of the licenses to any person, unless
      the Commission gives its consent in writing.

10 C.F.R. § 50.80(a); see also 10 C.F.R. § 50.80(b) (applying the license transfer

requirements to construction permits).

      These requirements of prior approval are no mere technicality. If TVA were

to transfer the Bellefonte Site without prior NRC approval, it would put TVA in

violation of its permits. The permits expressly state that TVA owns the Bellefonte

Site, (Ex A, pp. 5, 10 of 15), so TVA would, until the permits are revised or

transferred, be in violation if ownership were transferred to ND. That could result

in substantial monetary fines to TVA, see 42 U.S.C. § 2282; 10 C.F.R. § 2.205,

and perhaps even criminal penalties, see id. §§ 2272, 2273.

      ND concedes in its complaint that it did not obtain by the closing date

approval from the NRC either for transfer of ownership of the Bellefonte Site or



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the Construction Permits to it. As a result, the consummation of the closing under

the Agreement would have been in violation of the Act and applicable regulations.

      B.      One of the closing conditions under the Agreement was not
              satisfied.

      Because one of the five contractual conditions for closing was not satisfied,

TVA committed no breach in refusing to close on the sale of the Bellefonte Site,

and ND is not entitled to specific performance. Thus, ND’s claim for specific

performance fails as a matter of law.

      “Under federal law, the plain meaning of a contract’s language governs its

interpretation.” Belize Telecom, Ltd. v. Gov’t of Belize, 528 F.3d 1298, 1307 (11th

Cir. 2008). Furthermore, “where the language of the contract is unambiguous, the

legal effect of that language is a question of law” that “may be resolved

summarily.” Orkin Exterminating Co., Inc. v. FTC, 849 F.2d 1354, 1360 (11th

Cir. 1988).

      The Agreement contained this unambiguous condition precedent to

performance of the closing under the Agreement:

      There shall not be in effect at the Closing any law, statute, rule,
      regulation, permit, certificate or binding order, decree or decision of
      any Governmental Authority (as defined [in the PSA]) restraining,
      enjoining or otherwise prohibiting or making illegal the
      consummation of the transactions contemplated by the
      Agreement.

(Doc. 1-1, § 6(a)(v) (emphasis added)).


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      Because the Act and the regulations discussed above made it illegal for the

closing to occur, this contractual condition precedent was not satisfied by the time

of closing, and TVA committed no breach of the Agreement by refusing to close.

“Specific performance is a remedy associated with breach of contract,” so there

can be no order of specific performance here in the absence of breach. Pauma

Band of Luiseno Mission Indians of Pauma & Yuima Reservation v. California,

813 F.3d 1155, 1167 (9th Cir. 2015) (applying federal law).

      In addition to the fact that the absence of a breach precludes an order of

specific performance, it is a settled proposition of law that a court cannot order

specific performance when a condition precedent to performance has not been

satisfied. See, e.g., Woodward-Parker Corp. v. New Guar. Fed. Sav. & Loan

Ass’n, 947 F.2d 947 (Table), 1991 WL 224082, at *2 (6th Cir. 1991) (“A plaintiff

in a breach of contract action is only entitled to specific performance, as a matter

of law, where he shows: (1) he performed all conditions precedent to the requested

performance[.]”); Orazi v. BAC Home Loans Servicing, LP, 2018 WL 4266071, at

*5 (D. Md. Sep. 6, 2018) (“[C]onditions precedent must be fulfilled before specific

performance can be granted.”); Brown v. Allied Home Mortg. Capital Corp., 2011

WL 3351532, at *3 (D. Md. 2011) (“Indeed, ‘[t]he performance of all conditions

precedent is generally required before specific performance will be granted.’”);

Satellite Broad. Cable, Inc. v. Telefonica de Espana, 786 F. Supp. 1089, 1104

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(D.P.R. 1992) (noting that it is “well settled law” that “[i]n the case of a contract

subject to a condition precedent, an order for specific performance does not

proceed until such time as the condition is fulfilled.”); Olen Real Estate & Inv. Co.

v. L.A. Zieman & Co., 110 So. 2d 890, 892 (Ala. 1959) (“[S]pecific performance of

a contract may be had in equity even though the contract contains a condition

precedent, provided such condition precedent has been fulfilled.”) (emphasis

added).

      Because the contractual condition to closing was not satisfied by the agreed

closing date, ND cannot obtain specific performance, and there can be no order of

specific performance. Accordingly, ND’s claim for specific performance in Count

One must be dismissed.

      C.     A court cannot order TVA to undertake an illegal act.

      ND’s claim for specific performance fails as a matter of law for a separate

and independent reason: the Court cannot order TVA to commit an illegal act,

which is what specific performance would entail. “It is . . . well-settled in the

principles of general contract law that courts may not enforce contracts that are

contrary to public policy,” and that “enforcement is [therefore] denied when such

enforcement would be contrary to the ‘public policy of the United States as

manifested in the Constitution, treaties, federal statutes and applicable legal

precedents.’” Fomby-Denson v. Dep't of Army, 247 F.3d 1366, 1373-1374 (Fed.


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Cir. 2001) (citing Hurd v. Hodge, 334 U.S. 24, 34-35 (1948)). This principle has

been applied by the Supreme Court “to declare unenforceable United States

government contracts.” Id. at 1373; accord Jennings v. United States, 126 Fed. Cl.

764, 769 (Fed. Cl. 2016) (citing Fomby, 247 F.3d at 1373-1374); United States v.

Miss. Valley Generating Co., 364 U.S. 520, 563 (1961) (approving cancellation of

government contract for violation of federal conflict-of-interest statute because

“the sanction of nonenforcement is consistent with and essential to effectuating the

public policy embodied” in that statute).

      In this case, ordering specific performance of the Agreement would be

contrary to public policy as manifested in the Act and the applicable regulations

discussed above.    For this additional reason, this Court cannot order specific

performance, which means that Count One must be dismissed.

      D.     Equitable estoppel cannot save ND from dismissal.

      ND’s invocation of the doctrine of equitable estoppel (Doc. 1, ¶ 22) cannot

rescue it from dismissal of Count One because the doctrine does not apply here as

a matter of law for multiple separate and independent reasons.

      The elements of equitable estoppel are clear in the Eleventh Circuit:

             the elements of federal common law equitable estoppel in this
             circuit are: (1) the party to be estopped misrepresented material
             facts; (2) the party to be estopped was aware of the true facts;
             (3) the party to be estopped intended that the misrepresentation
             be acted on or had reason to believe the party asserting the
             estoppel would rely on it; (4) the party asserting the estoppel
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             did not know, nor should it have known, the true facts; and (5)
             the party asserting the estoppel reasonably and detrimentally
             relied on the misrepresentation.

Dawkins v. Fulton Cnty. Gov’t, 733 F.3d 1084, 1089 (11th Cir. 2013).

             1.     Equitable estoppel can never be employed to require a
                    party to undertake an illegal act.

      Equitable estoppel can never be employed to require a party to undertake an

illegal act, but that is exactly what ND is trying to do in this case.

      ND bases its equitable-estoppel argument on its allegation that TVA falsely

represented in the Agreement that no approval of any governmental authority

would be needed to consummate the transactions contemplated by the Agreement.

(Doc. 1, ¶ 22 (citing Doc. 1-1, ¶ 7(a)(vii)). ND thus contends that TVA should be

precluded from now taking the position that it would be illegal to consummate the

sale of the Bellefonte Site under the Agreement without NRC approval. (Doc. 1,

¶ 22). In other words, ND is arguing that Congress’s decision in the Act to require

NRC approval of the transfer of a nuclear plant can be disregarded based on

TVA’s representation in the Agreement.

      It is settled law, however, that equitable estoppel cannot be invoked to

compel a party to take an illegal act. See Office of Personnel Management v.

Richmond, 496 U.S. 414, 426 (1990) (“[J]udicial use of the equitable doctrine of

estoppel cannot grant respondent a money remedy that Congress has not

authorized.”); Thurber v. W. Conf. of Teamsters Pension Plan, 542 F.2d 1106,
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1109 (9th Cir. 1976) (“We agree with the district court that the doctrine of estoppel

may not be invoked to compel an illegal act.”); United States v. Certain Parcels of

Land, 131 F. Supp. 65, 73 (S.D. Cal. 1955) (“Public policy demands that the

mandate of the law should override any doctrine of estoppel; so no amount of

misrepresentation can prevent a party, whether citizen or Government, from

asserting as illegal that which the law declares to be such.”); see also State

Highway Dept. v. Headrick Outdoor Advertising, Inc., 594 So. 2d 1202, 1205 (Ala.

1992) (“[T]he doctrine of estoppel may not authorize a city do to that which the

city had no authority to do[.]”). In light of these authorities, ND cannot employ the

doctrine of equitable estoppel to force TVA to proceed with the closing under the

Agreement in violation of the Act.

             2.    ND cannot establish that it should not have known the true
                   facts.

      ND’s attempt to invoke equitable estoppel also fails for the reason that ND

cannot establish the fourth Dawkins element for the doctrine, namely that ND

should not have known the true facts about the requirements of the Act. As

discussed above, the requirements of the Act and its associated regulations are

clear. The Supreme Court held more than 70 years ago that a party cannot rely on

the representations of a government agent when those representations are

inconsistent with applicable laws and regulations. See Fed. Crop Ins. Corp. v.

Merrill, 332 U.S. 380, 384 (1947). The Supreme Court based its conclusion on the
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fundamental premise that “everyone is charged with knowledge of the United

States Statutes at Large” and with knowledge of the “rules and regulations in the

Federal Register.” Id. at 384-85. According to the Supreme Court, “anyone

entering into an arrangement with the Government takes the risk of having

accurately ascertained that he who purports to act for the Government stays within

the bounds of his authority.” Id. at 384; see also United States v. Vonderau, 837

F.2d 1540, 1541 (11th Cir. 1988) (“The government cannot be estopped by the

action of its agent when that agent acts without authority or contrary to law.”).

      In light of this settled precedent, ND as a matter of law cannot establish that

it should not have known the true facts about the legal requirement for approval

from the NRC in order to consummate the transfer of the Bellefonte Site under the

Agreement, especially given that ND had two years to satisfy all conditions

precedent. As a result, ND cannot invoke the doctrine of equitable estoppel for

this additional reason.

             3.     ND cannot establish that it reasonably and detrimentally
                    relied on TVA’s representation.

      ND also cannot establish the fifth Dawkins element for application of

equitable estoppel—that ND reasonably and detrimentally relief on TVA’s

representation. The Supreme Court has held that “the party claiming the estoppel

must have relied on its adversary’s conduct in such a manner as to change his

position for the worse[,]” and “that reliance must have been reasonable in that the
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party claiming the estoppel did not know nor should it have known that its

adversary’s conduct was misleading.” Heckler v. Cmty. Health Servs. of Crawford

Cnty., Inc., 467 U.S. 51, 59 (1984) (internal quotations omitted).

      ND cannot establish that it actually relied on TVA’s representation. ND

omits a critical fact from its complaint, namely that it gave a representation in the

Agreement substantively identical to the one given by TVA about which ND

complains. Specifically, in Section 8(a)(vi) of the Agreement, ND represented,

“No authorization, consent or approval or other order or action of or filing with any

Governmental Authority is required for the execution and delivery by the Buyer of

this Agreement or the consummation by the Buyer of the transactions

contemplated hereby.” Because ND made the same substantive representation to

the one made by TVA, ND as a matter of law cannot establish that it relied on

TVA’s representation. See In re BCP Mgmt., Inc., 320 B.R. 265, 279 (Bankr. D.

Del. 2005) (rejecting defendant PwC’s estoppel theory because “PwC has not

demonstrated any reliance on representations of BCPM because PwC made the

same representations to this Court.”).

      Even if ND could establish that it relied on TVA’s representation (and it

cannot), ND cannot establish that any such reliance was reasonable. Reliance on

TVA’s representation would not have been reasonable because, as discussed

above, a party cannot rely on a Government agent’s statement about what the law

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is; instead, everyone is charged with knowledge of federal laws and regulations.

See Merrill, 332 U.S. at 384-85. Because ND should have known about the

provisions of the Act, any reliance on TVA’s alleged misstatement about the law is

per se unreasonable, so ND cannot establish this essential element for invocation

of the doctrine of equitable estoppel.

              4.     Equitable estoppel cannot be applied against the
                     Government because ND failed to allege egregious
                     misconduct.

       Even if the doctrine of equitable estoppel could ever be invoked against the

Government,7 it would be “warranted only if affirmative and egregious misconduct

by government agents exists.” Sanz v. U.S. Sec. Ins. Co., 328 F.3d 1314, 1320

(11th Cir. 2003). Misconduct reaching that level must be alleged in the complaint.

Id. ND’s complaint does not allege any such misconduct, so the doctrine of

equitable estoppel does not apply for this additional reason.

                                            ***

       For each of the four separate and independent reasons discussed above,

ND’s attempt to invoke equitable estoppel to avoid application of the Act comes up

short. Thus, Count One should be dismissed.


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  As the Eleventh Circuit recently held, “[t]he Supreme Court has never established that the
doctrine of equitable estoppel can be applied against the government and, in fact, has implied
that it can not be.” U.S. Commodity Futures Trading Comm’n v. Southern Trust Metals, Inc., 894
F.3d 1313, 1323 (11th Cir. 2018). TVA asserts that estoppel can never be asserted against it or
any other governmental entity.

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   II.        Plaintiff’s claim for preliminary injunction in Count Two should be
              dismissed.

         ND’s claim for a preliminary injunction in Count Two also fails as a matter

of law for multiple separate and independent reasons.

         A.     There is no cause of action for a preliminary injunction.

         First, ND’s Count Two must be dismissed because there is no viable cause

of action for a preliminary injunction. “A motion for preliminary injunction is not

a cause of action. It is a procedural mechanism by which a party may obtain

relief.” Harbor Commc’ns., LLC v. S. Light, LLC, 2015 WL 419854, at *3 (S.D.

Ala. Feb. 2, 2015); accord Hilson v. Beaury, 2014 WL 4457132, at *7 (N.D.N.Y.

Sep. 10, 2014) (“A request for a temporary restraining order or preliminary

injunction, however, is not an independently cognizable cause of action, but

instead a form of interim relief.”). “While it is appropriate to ask for a preliminary

injunction as a form of relief, a request for a preliminary injunction is not

appropriately pled as a substantive cause of action in a complaint.” First Classics,

Inc. v. Jack Lake Prods., Inc., 2018 WL 1427125, at *3 (N.D. Ill. 2018) (emphasis

added) (internal quotations omitted).

         Because it is not permissible to plead a cause of action for a preliminary

injunction, ND’s Count Two must be dismissed.




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      B.    As a matter of law, ND cannot establish any of the requirements
            for a preliminary injunction.

      Second, ND cannot establish any of the requirements for a preliminary

injunction, and that provides an independent basis for dismissal of Count Two.

      Under settled Eleventh Circuit law, “[a] district court may issue a

preliminary injunction where the moving party demonstrates (1) a substantial

likelihood of success on the merits; (2) that irreparable injury will be suffered

unless the injunction issues; (3) the threatened injury to the movant outweighs

whatever damage the proposed injunction may cause the opposing party; and (4) if

issued, the injunction would not be adverse to the public interest." Four Seasons

Hotels and Resorts, B.V. v. Consorcio Barr, S.A., 320 F.3d 1205, 1210 (11th Cir.

2003). The third and fourth factors “merge into one factor when the government is

the non-movant.” Ramirez v. U.S. Immigration and Customs Enforcement, 310 F.

Supp. 3d 7, 32 (D.D.C. 2018) (citing Nken v. Holder, 556 U.S. 418, 435 (2009));

accord Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014).

      Far from a common feature of federal civil litigation, a preliminary

injunction is "an extraordinary and drastic remedy not to be granted unless the

movant clearly establishe[s] the 'burden of persuasion' as to each of the four

prerequisites." Four Seasons Hotels and Resorts, 320 F.3d at 1210.




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      If ND cannot establish any one of the requirements, then the claim for a

preliminary injunction must be dismissed. In this case, as a matter of law, ND

cannot establish any of the requirements.

             1.    ND cannot demonstrate that it has a substantial likelihood
                   of success on the merits.

      ND cannot demonstrate that there is a substantial likelihood of success on

the merits. ND seeks the preliminary injunction solely to preserve the status quo

while its claim for specific performance is being litigated. (Doc. 1, ¶¶ 28-31). But,

as discussed above, ND’s claim for specific performance fails as a matter of law.

Because that claim fails, it follows necessarily that there is no substantial

likelihood of success on the merits of the claim. Thus, ND cannot establish that

requirement for a preliminary injunction as a matter of law.

             2.    ND cannot demonstrate that it will suffer irreparable injury
                   unless the preliminary injunction issues.

      ND also cannot establish that it will suffer irreparable injury if the

preliminary injunction does not issue. Indeed, the argument that ND makes in

claiming irreparable harm has been rendered moot due to the parties’ stipulation.

(Doc. 17).

      ND alleged in its complaint that a preliminary injunction is needed “to

maintain[] the status quo and require[] TVA, among other things, to continue to

maintain and provide security for the [Bellefonte Site] assets in a manner sufficient


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to meet NRC quality control requirements so that the [Construction Permits] will

not lapse or be terminated.” (Doc. 1, ¶ 29). But the stipulation entered into by the

parties has mooted that argument. (Doc. 17). TVA has agreed that it will maintain

the NRC’s quality control requirements unless and until the Construction Permits

are revised or terminated. (Id). Also, TVA has agreed to give ND five business

days’ notice if it decides to initiate the process to terminate the Construction

Permits. (Doc. 17). As a result, ND cannot establish that “irreparable injury will

be suffered unless the injunction issues.” Four Seasons Hotels and Resorts, 320

F.3d 1205 at 1210.

            3.       ND cannot establish that the threatened injury to it
                     outweighs the damage that the proposed injunction may
                     cause to TVA, which means that the injunction would be
                     adverse to the public interest.

      ND cannot demonstrate that the threatened injury to it outweighs the damage

that the proposed injunction may cause to TVA. The proposed injunction will

impair TVA’s ability to determine how it wants to utilize the property that it owns.

TVA would be precluded from entering into an agreement to sell its property,

pending a license transfer, or from beginning the process to terminate the

Construction Permits. By contrast, there is no threatened injury to ND. Because it

would be illegal for the Court to order specific performance (as explained above),

ND cannot obtain the relief it seeks to protect with the preliminary injunction. As

a result, ND will not suffer any injury if the injunction is not entered as compared
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to what TVA will suffer if it is. And it is certainly not in the public interest to

enter an injunction in order to retain the ability to require a government entity to

commit an illegal act.

                                       ***

      Because, as a matter of law, ND cannot establish all of the requirements for

entry of a preliminary injunction, Count Two must be dismissed.

   III.     Plaintiff’s claim for damages in Count Three should be dismissed.

      ND’s damages claim for breach of contract in Count Three must be

dismissed because its allegation of breach fails as a matter of law. ND alleges that

“TVA breached the [Agreement] by refusing to consummate the sale and purchase

transaction as required by the [Agreement].” (Doc. 1, ¶ 33). But, as discussed

above, a necessary condition to closing was not satisfied because it would have

been illegal for the closing to occur. See supra at 9-11. Thus, under the plain

language of the Agreement, TVA was not obligated to close, so there was no

breach.

                                 CONCLUSION

      For the foregoing reasons, each count of ND’s complaint is due to be

dismissed.




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                            Respectfully submitted,


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                        CERTIFICATE OF SERVICE

      I hereby certify that on February 4, 2019, a true and correct copy of the
foregoing was filed electronically with the Clerk of Court using the CM/ECF
system, which will send electronic notification of such filing to all counsel of
record:

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